     Case 2:06-cr-00307-RSM              Document 393    Filed 03/12/08      Page 1 of 2



 1
                                              THE HONORABLE RICARDO S. MARTINEZ
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 6
                         IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                      No. CR06-0307-RSM
                            Plaintiff,
10                                                      ORDER GRANTING
                     V.                                 MOTION TO WITHDRAW
11                                                      MOTION TO WITHDRAW PLEA OF
     LAI NGUYEN,
12                          Defendant.
                                                        GUILTY AND DECLARATION OF
                                                        JOHN HENRY BROWNE IN
13                                                      SUPPORT OF MOTION

14
              THIS MATTER comes before the Court upon defendant Lai Nguyen’s Motion to
15   Withdraw Motion to Withdraw Plea of Guilty and Declaration of John Henry Browne in

16   Support of Motion. The Court having considered the entirety of the record and files
     herein grants the Motion to Withdraw Motion to Withdraw Plea of Guilty and
17
     Declaration of John Henry Browne in Support of Motion, filed on June, 25, 2007 (Dkt.
18   #305).
19            Dated this 12th day of March, 2008.

20
21
22                                                  A
                                                    RICARDO S. MARTINEZ
23                                                  UNITED STATES DISTRICT JUDGE

24

     STIPULATED MOTION                                        LAW OFFFICES OF JOHN HENRY BROWNE PS
                                                                 821 SECOND AVENUE, SUITE 2100
     TO CONTINUE PRETRIAL                                         SEATTLE, WASHINGTON 98104
     MOTIONS DEADLINE - 1                                      (206) 388-0777 • FAX: (206) 388-0780
     Case 2:06-cr-00307-RSM   Document 393   Filed 03/12/08       Page 2 of 2



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 2                                                Presented by:

 3                                                  Lai Nguyen, represented by:
                                      LAW OFFICES OF JOHN HENRY BROWNE
 4                                                s/ John Henry Browne
                                                                   WSBA # 4677
 5                                                      2100 Exchange Building
                                                      Seattle, Washington 98104
 6                                                         Phone: 206-388-0777
                                                              Fax: 206- 388-0780
 7                                             email: johnhenry@jhblawyer.com

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     STIPULATED MOTION                             LAW OFFFICES OF JOHN HENRY BROWNE PS
                                                      821 SECOND AVENUE, SUITE 2100
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